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 5
     Attorney for Defendant,
 6   TANEKA NUNLEY

 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 08-65-LKK

11              Plaintiff,                             STIPULATION AND ORDER

12        vs.                                          DATE: May 11, 2010
                                                       TIME: 9:15 AM
13   TANEKA NUNLEY,                                    JUDGE: Hon. Lawrence Karlton

14              Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Todd

17   Leras, Assistant U.S. Attorney, and defendant Taneka Raenee Nunley, by and through her

18   attorney, Dan Koukol, that the status conference of May 11, 2010 be vacated and that a status

19   conference be set for July 13, 2010 at 9:15 AM.

20          This continuance is being requested because due to an oversight on the part of the parties

21   the defendant was not included in the stipulation and request to continue the court appearance

22   filed by the codefendant.

23          The parties request that the speedy trial time is excluded from the date of this order

24   through the date of the status conference set for July 13, 2010 at 9:15 AM pursuant to 18 U.S.C.

25   § 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).
                                                -1-
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 1
     DATED: MAY 7, 2010                 Respectfully submitted,
 2

 3                                /s/ DAN KOUKOL
                                  _________________________________
 4                                DAN KOUKOL
                                  Attorney for defendant Taneka Nunley
 5

 6
     DATED: MAY 7, 2010                 Respectfully submitted,
 7

 8                                /s/ DAN KOUKOL FOR
                                  _________________________________
 9                                Todd Leras
                                  Assistant U.S. Attorney
10
     IT IS SO ORDERED
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     DATED: May 11, 2010
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